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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 US AIRWAYS, INC.,                                            :
                                              Plaintiff,      :
                                                              :   11 Civ. 2725 (LGS)
                            -against-                         :
                                                              :        ORDER
 SABRE HOLDINGS CORP., et al.,                                :
                                              Defendants. :
                                                              :
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LORNA G. SCHOFIELD, District Judge:

        It is ORDERED that the pre-motion conference scheduled for January 14, 2021, at 10:50

a.m., is adjourned to January 14, 2021, at 11:05 a.m., and will be held on the following

conference line: (888) 363-4749, access code 558-3333. The conference time is approximate, but

the parties shall be ready to proceed at that time.

Dated: January 11, 2021
       New York, New York
